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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MINNESOTA


 WNT, LLC AND WNT FARMINGTON
 LLC, on behalf of themselves and all others
 similarly situated,
                                                      Civil Action No. 0:24-cv-959
                Plaintiffs,

        v.
                                                      JURY TRIAL DEMANDED
 UNITED SUGAR PRODUCERS &
 REFINERS COOPERATIVE F/K/A
 UNITED SUGARS CORPORATION,
 AMERICAN SUGAR REFINING, INC.,
 ASR GROUP INTERNATIONAL, INC.,
 DOMINO FOODS, INC., CARGILL, INC.,
 MICHIGAN SUGAR COMPANY,
 COMMODITY INFORMATION, INC.,
 AND RICHARD WISTISEN.

                Defendants.


                                CLASS ACTION COMPLAINT

       Plaintiffs WNT, LLC (“WNT Hartford”) and WNT Farmington, LLC (“WNT

Farmington”) (collectively, “Plaintiffs”), individually and on behalf of the Commercial Indirect

Purchaser Classes defined below, bring this class action to recover treble damages, injunctive

relief, and any other relief as appropriate, based on violations of the Sherman Act and various state

antitrust and consumer protection laws by United Sugar Producers & Refiners f/k/a United Sugars

Corporation (“United”), American Sugar Refining, Inc. (“ASR”), ASR Group International, Inc.

(“ASR Group”), Domino Foods, Inc. (“Domino,” together with ASR Group and ASR,

“ASR/Domino”), Cargill, Inc. (“Cargill”), Michigan Sugar Company (“Michigan Sugar,” together

with United, ASR/Domino, and Cargill, the “Producing Defendants”), Commodity Information,

Inc. (“Commodity”), and Richard Wistisen (“Wistisen,” together with Commodity, “Commodity”)
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(collectively “Defendants”), and allege, upon their personal knowledge as to themselves and each

of their own actions, and otherwise upon information and belief, including the investigation of

counsel, as follows:

                                   NATURE OF THE ACTION

        1.       Since at least January 1, 2019, Defendants and their co-conspirators conspired and

combined to fix, raise, maintain, and stabilize prices for Granulated Sugar1 sold throughout the

United States.

        2.       The Producing Defendants—who are otherwise horizontal competitors—are

among the largest producers and sellers of Granulated Sugar in the United States, especially after

Defendant United’s acquisition of former competitor Imperial Sugar Company (“Imperial”) in

November 2022.

        3.       In furtherance of this conspiracy, among other things, the Producing Defendants

engaged in price signaling and exchanged competitively sensitive information about prices,

capacity, sales volume, and demand, including through Defendant Commodity. These actions were

taken with the intended purpose and effect of increasing Granulated Sugar Prices throughout the

United States.

        4.       As a result of Defendants’ combination and conspiracy, Granulated Sugar prices in

the United States have been artificially inflated throughout the Class Period, causing Plaintiffs and

other commercial, industrial, and institutional indirect purchasers (“Commercial Indirect

Purchasers”) to suffer overcharges.




1
 As defined below, “Granulated Sugar” is ordinary, white, table sugar that is made from cane sugar or
beet sugar that has undergone a refining process to remove the molasses and extract the sucrose and
create relatively large, uniform crystals.


                                                   2
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                                  JURISDICTION AND VENUE

        5.      This action arises under Section 1 of the Sherman Act (15 U.S.C. § 1), and Section

16 of the Clayton Act (15 U.S.C. § 26), as well as the antitrust, unfair competition, and consumer

protection laws of various states. The Sherman Act claim is for injunctive relief, costs of suit, and

reasonable attorneys’ fees; the various state claims seek to recover injunctive relief, compensatory

damages, treble damages, costs of suit, and reasonable attorneys’ fees.

        6.      This Court has subject matter jurisdiction pursuant to Section 16 of the Clayton

Act, 15 U.S.C. § 26, and 28 U.S.C. §§ 1331, 1333(d), 1337(a), and 1367.

        7.      This Court has diversity jurisdiction over this action under 28 U.S.C. § 1332(d)

because this is a class action wherein the amount in controversy exceeds the sum or value of $5

million, exclusive of interest and costs, there are more than 100 members in the proposed class,

and Plaintiffs are citizens of Connecticut, thus at least one of the Plaintiffs is diverse from at least

one of the Defendants, all of whom are either residents of, incorporated in, or have their principal

places of business in Delaware, Florida, Michigan, Minnesota, or Utah.

        8.      This Court also has personal jurisdiction over all Defendants, and venue in this

District is proper, under the combination of 15 U.S.C. §22 and 28 U.S.C. §1391(b), (c), and (d). A

substantial part of the events or omissions giving rise to the claims occurred in this District. On

information and belief, each Defendant resides, transacts business, is found, or has an agent in this

District.

        9.      Defendants’ activities were within the flow of, and were intended to and did have

a substantial effect on, interstate commerce of the United States. Defendants’ products and services

are sold in the flow of interstate commerce.

        10.     By reason of the unlawful activities alleged herein, Defendants’ unlawful activities

substantially affected commerce throughout the United States, causing injury to Plaintiffs and the


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geographically dispersed class members. Defendants, directly and through their agents, engaged

in activities affecting all states.

          11.      Defendants’ conspiracy, wrongful anticompetitive conduct, and substantial

anticompetitive effects described herein proximately caused injury to Plaintiffs and members of

the proposed Classes.

                                              THE PARTIES

Plaintiffs

          12.      Plaintiff WNT, LLC (“WNT Hartford”) is a Connecticut limited liability company

with its principal place of business in Hartford, Connecticut. During the Class Period, WNT

Hartford purchased Granulated Sugar indirectly from one or more Defendants in Connecticut and

suffered antitrust injury as a result.

          13.         Plaintiff WNT Farmington LLC (“WNT Farmington”) is a Connecticut limited

liability company with its principal place of business in Farmington, Connecticut. During the Class

Period, WNT Farmington purchased Granulated Sugar indirectly from one or more Defendants in

Connecticut and suffered antitrust injury as a result.

Defendants

          14.         Defendant United is a Minnesota corporation with its principal place of business

in Edina, Minnesota. United has four member-owners: United States Sugar Corporation (“U.S.

Sugar”); American Crystal Sugar Company; Minn-Dak Farmers Cooperative; and Wyoming Sugar

Company, LLC.2 It sells Granulated Sugar primarily under the brand name Crystal Sugar.3

According to its website: “From a sugar-supply standpoint, we are the most reliable sugar producer

in the U.S. due to our volume capabilities and coast-to-coast distribution network. Unlike other


2
    https://unitedsugarpr.com/who-we-are/our-members/ (last accessed 3/16/24).
3
    https://unitedsugarpr.com/product-category/retail-products/ (last accessed 3/16/24).


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sugar suppliers, our sales team, customer service team and quality assurance team are solely

focused on sugar, no other commodities.”4

        15.     Defendant ASR is a privately held Florida corporation with its principal place of

business in West Palm Beach, Florida. It is a global producer and seller of Granulated Sugar.

        16.     Defendant ASR Group is a privately held Florida corporation with its principal

place of business in West Palm Beach, Florida. It is a global producer and seller of Granulated

Sugar. On its website, ASR Group states: “As the world’s largest refiner and marketer of cane

sugar, we sell our branded products and service our customers in every key channel, including

industrial, grocery and e-commerce, food service, and specialty.”5 ASR Group further claims:

“Our acquisitions and strategic partnerships have positioned us as a key player in the world’s

largest sugar markets.”6

        17.     Defendant Cargill is a Delaware corporation with its principal place of business in

Minnetonka, Minnesota. Cargill is a global producer and seller of Granulated Sugar. Its website

claims that “Cargill is proud to be one of the leading sugar marketers in North America. No matter

what your sugar requirements – granulated sugar, refined sugar, liquid sucralose – Cargill has the

right product to deliver the taste and texture you demand.”7

        18.     Defendant Domino is a Florida corporation with its principal place of business in

West Palm Beach, Florida. Domino is the marketing and sales subsidiary for ASR and ASR

Group’s Granulated Sugar business and is a global producer and seller of Granulated Sugar.




4
  https://unitedsugarpr.com/faq/ (last accessed 3/16/24).
5
  https://www.asr-group.com (last accessed 3/16/24).
6
  https://www.asr-group.com/about-us (last accessed 3/16/24).
7
  https://www.cargill.com/food-beverage/na/sugar (last accessed 3/16/24).


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       19.     ASR/Domino owns and operates sugar refineries in Crockett, California,

Chalmette, Louisiana, Baltimore, Maryland, and Yonkers, New York. It is a global producer and

seller of Granulated Sugar. ASR/Domino sells Granulated Sugar in the United States under the

brands Domino, C&H, and Florida Crystals, as well as internationally under the brands Redpath,

Tate & Lyle, Lyle’s, and Sidul.8

       20.     Defendant Michigan Sugar is a Michigan corporation with its principal place of

business in Bay City, Michigan. It is a cooperative comprising 900 sugar beet grower-owners, and

is a global producer and seller of Granulated sugar under the brand names Pioneer Sugar and Big

Chief Sugar.9 Michigan Sugar owns and operates sugar beet processing facilities in Bay City, Caro,

Croswell and Sebewaing, Michigan; it also owns warehouse facilities in Bay City, Michigan,

Carrollton, Michigan, Fremont, Ohio, and Findlay, Ohio, as well as a production facility in Toledo,

Ohio and an agricultural research center in Bay County, Michigan.10

       21.     Defendant Commodity is a Delaware corporation with its principal place of

business in Orem, Utah. Commodity publishes a monthly report called the “Domestic Sugar

Monthly Report” that contains information about, among other things, sugar supply and demand

and sugar spot pricing guidance. Throughout the Class Period, Defendant Commodity facilitated

exchanges of detailed, non-public, competitively sensitive information regarding, among other

things, prices (including prospective prices), capacity, sales volume, and demand amongst the

Producing Defendants in furtherance of the conspiracy.




8
  https://www.asr-group.com/about-us/our-owners (last accessed 3/16/24);
https://www.foodbusinessnews.net/articles/836-american-sugar-refining-unveils-new-brand-name-asr-
group (last accessed 3/16/24).
9
  https://www.michigansugar.com/ (last accessed 3/16/24); https://www.michigansugar.com/about-us/
(last accessed 3/16/24).
10
   https://www.michigansugar.com/about-us/locations/ (last accessed 3/16/24).


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       22.     Defendant Wistisen is a Granulated Sugar industry analyst and the principal of

Commodity. In furtherance of Defendants’ combination and conspiracy, Mr. Wistisen knowingly

and purposely collected and shared detailed, non-public, competitively sensitive information

amongst the Producing Defendants.

                               AGENTS & CO-CONSPIRATORS

       23.     Various co-conspirators, some known and some unknown, willingly participated

in and acted in furtherance of the alleged conspiracy.

       24.     Each Defendant was a co-conspirator with the other Defendants and committed

overt acts in furtherance of the conspiracy alleged herein in the United States and in this District.

       25.     Defendants participated in the alleged conspiracy through the acts of their officers,

directors, agents, partners, employees, representatives, affiliates, subsidiaries, and companies they

acquired through mergers and acquisitions, for whom they are liable.

       26.     At all relevant times, other known and unknown corporations, individuals, and

entities willingly conspired with Defendants in their unlawful and illegal conduct. Numerous

individuals and entities participated actively during the course of, and in furtherance of, the scheme

described herein. The individuals and entities acted in concert through, amongst other things, joint

ventures, and by acting as agents for principals in order to advance the objectives of the scheme to

benefit Defendants and themselves by artificially inflating Granulated Sugar prices.

       27.     Whenever reference is made to an act of any organization, corporation, or other

business entity, the allegation means that the entity engaged in the act by or through its officers,

directors, agents, partners, employees, or representatives while they were actively engaged in the

management, direction, control, or transaction of the corporation’s business or affairs.




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                                    FACTUAL ALLEGATIONS

A.      The U.S. Granulated Sugar Market.

        28.      “Granulated Sugar,” also known as “white sugar” or “table sugar,” is a product

made from cane sugar or beet sugar that has undergone a refining process to remove molasses and

extract the sucrose (C12H22O11), which is then ground into relatively large, uniform crystals

typically of about 0.6mm. Although refined sugar/sucralose is sometimes sold as a liquid or

powder, Granulated Sugar is the predominant form sold and accounts for approximately 80% of

all refined sugar sold.11

        29.     In the United States, sugarcane is only grown in tropical and semitropical climates

such as Florida, Louisiana, and Texas, whereas sugar beets are grown in a range of temperate

climates such as California, Colorado, Idaho, Michigan, Minnesota, Montana, Nebraska, North

Dakota, Oregon, Washington, and Wyoming. After harvesting, sugarcane is first converted to

“raw” sugar at sugar mills, which is then later refined into granulated sugar at refineries. Sugar

beets, on the other hand, are typically processed in a single facility where they are converted into

refined sugar directly. However, despite these differences, Granulated Sugar made from beets and

Granulated Sugar made from sugarcane are chemically indistinguishable.

        30.     Granulated sugar is a primary dry good and staple foodstuff commonly used by

both commercial/industrial/institutional users (e.g., restaurants, bakeries, confectioneries, and food

and beverage manufacturers) and end-consumers as an ingredient to sweeten foods and drinks. It

is also used in some industrial processes, such as the production of medications and bioplastics,

and to make ethanol and other biofuels. According to one global estimate, approximately 75% of




11
   See Proposed Findings of Fact of the United States [Redacted], U.S. v. United States Sugar Corp., et
al., No. 21-cv-1644-MN (D. Del.) (ECF 219) ¶ 25.


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Granulated Sugar is used for food products while 25% is used for biofuels and other industrial

applications.12

        31.       While some larger commercial, industrial, and institutional users purchase

Granulated Sugar directly from the Producing Defendants either for resale or for manufacturing

purposes (i.e., “Direct Purchasers”), many commercial, industrial, and institutional entities

purchase Granulated Sugar indirectly through intermediaries such as sugar wholesale distributors,

food service distributors, or grocery retailers. These latter types of purchasing entities, which

includes Plaintiffs, are referred to herein as “Commercial Indirect Purchasers.”

        32.       Granulated Sugar is a commodity product with little or no product differentiation

based on processor.13 Given its history and cultural importance, it is generally considered one of

the most valuable agricultural commodities in the world.14 Sugar futures contracts are traded on

the Intercontinental Exchange (“ICE”) as “White Sugar” under the symbol “W.” According to

ICE: “The White Sugar futures contract is used as the global benchmark for the pricing of physical

white sugar. It is actively traded by the international sugar trade, sugar millers, refiners, and end-

users (manufacturers) as well as by managed funds and both institutional and short-term

investors.”15




12
   https://engagethechain.org/sites/default/files/commodity/Ceres_EngageTheChain_Sugarcane.pdf (last
accessed 3/16/24).
13
   See, e.g., Sugar Inst. v. United States, 297 U.S. 553, 572 (1936) (noting trial court’s finding that refined
sugar was a thoroughly standardized commodity in physical and chemical properties) (internal quotation
marks omitted).
14
   https://www.iisd.org/ssi/commodities/sugar-coverage/ (last accessed 3/16/24).
15
   https://www.ice.com/products/37089080/White-Sugar-Futures (last accessed 3/16/24).


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        33.     The U.S. Granulated Sugar industry is projected to reach an estimated $13.5 billion

in revenue in 2024.16

        34.     During the Class Period, the Producing Defendants, directly or through their

subsidiaries or other affiliates, sold Granulated Sugar throughout the United States in a continuous

and uninterrupted flow of interstate commerce, including through, in, into, or from this District.

        35.     During the Class Period, the Producing Defendants collectively controlled a

dominant share of the United States Granulated Sugar market. Presently, the Producing Defendants

have an estimated combined market share of at least 68%, though likely higher, in the Granulated

Sugar market in the United States.17 For example, upon hearing the announcement regarding

Imperial’s acquisition, one Producing Defendant noted “they view this as 1 less competitor and

now 3 companies account for 75% of the market.”18

B.      The Sugar Industry’s Long History of Collusion.

        36.     For more than 80 years, the domestic refined sugar industry has been marked by

repeated violations of the antitrust laws, including some involving conduct remarkably like that

alleged by Plaintiffs here.

        37.     In 1936, the United States Supreme Court upheld a lower court ruling which found

that the major refined sugar producers unreasonably restrained trade by, among other things,

creating the “Sugar Institute,” an industry trade association, which enabled them to promulgate

member rules whereby “defendants agreed to sell, and in general did sell sugar only upon open



16
   https://www.ibisworld.com/united-states/market-research-reports/sugar-processing-industry/ (last
accessed 3/16/24) (note: this estimate reflects NAICS Industry Code 3131, which may include raw and
liquid sugar).
17
   See Defendant United’s Proposed Findings of Fact, U.S. v. United States Sugar Corp., et al., No. 21-cv-
1644-MN (D. Del.) (ECF 231) ¶177.
18
   Email from ASR/Domino’s Adam Whittaker dated 3/25/21, U.S. v. United States Sugar Corp., et al.,
No. 21-cv-1644-MN (D. Del.) (ECF 207-24).


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prices, terms and conditions publicly announced in advance of sales, and they agreed to adhere

and in general did adhere without deviation, to such prices, terms and conditions until they publicly

announced changes.”19

          38.    In 1948, Sugar producers in California were accused of conspiring with one another

to fix the prices they paid to acquire sugar beets from growers.20 After a trial on the merits, the

court found in favor of the plaintiffs, who were awarded treble damages and attorneys’ fees, which

was later affirmed by the Ninth Circuit.21

          39.    In 1978, sugar producers—again accused of anticompetitive conduct—entered into

a consent decree with the United States Department of Justice (“DOJ”) where they were enjoined

from, among other things, entering into any future agreements or combinations to: (a) “[f]ix, raise,

maintain or stabilize the prices, terms or conditions for the sale of refined sugar”; (b) “[g]ive any

prior notice of or announce in advance any change or contemplated change in prices, terms or

conditions for the sale of refined sugar”; (c) “[d]irectly communicating to any other refiner

information concerning Future Prices”; or (d) “[r]equesting, requiring or coercing any third

person….to communicate to any other refiner, information concerning Future Prices.”22

          40.    Notably, the DOJ’s and Federal Trade Commission’s (“FTC”) joint “Guidelines for

Collaborations Among Competitors”23 and the “Merger Guidelines”24 referenced therein

specifically identify “Prior Actual or Attempted Attempts to Coordinate” as a “Primary Factor” in


19
     United States v. Sugar Institute, 297 U.S. 553, 582-83 (1936).
20
   Mandeville Island Farms v. Am. Crystal Sugar Co., 334 U.S. 219, 221 (1948).
21
   Am. Crystal Sugar Co. v. Mandeville Island Farms, 195 F.2d 622, 626 (9th Cir. 1952).
22
   United States v. Great W. Sugar Co., No. 74-2674 SW, 1978 WL 1399, at *2 (N.D. Cal. Sept. 13,
1978).
23
   https://www.ftc.gov/sites/default/files/documents/public_events/joint-venture-hearings-antitrust-
guidelines-collaboration-among-competitors/ftcdojguidelines-2.pdf (last accessed 3/16/24).
24
   https://www.ftc.gov/system/files/ftc_gov/pdf/2023_merger_guidelines_final_12.18.2023.pdf (last
accessed 3/16/24).


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determining whether practices such as information sharing are likely to increase the risk of

coordinated, anticompetitive conduct.

C.      Defendants Enter into (Yet Another) Agreement, Combination, or Conspiracy to
        Artificially Raise, Fix, Maintain, or Stabilize Granulated Sugar Prices.

        41.     Since at least 2019, the Producing Defendants have had an ongoing agreement to

artificially raise, fix, stabilize, or maintain Granulated Sugar prices in the United States. To

effectuate this agreement, the Producing Defendants engaged in price signaling and exchanges of

detailed, accurate, non-public, competitively sensitive information (including forward-looking

price information) with one another, both directly and through Defendants Commodity and

Wistisen.

        42.     As revealed by the DOJ, Defendants have participated in these exchanges of

competitively sensitive information for years.25 There is no innocent, economically rational reason

for the Producing Defendants to share this competitively sensitive information. Rather, they have

exchanged this competitively sensitive information for the explicit purpose of carrying out their

unlawful agreement and to avoid competition on the merits.

        43.     Commodity purports to offer analysis of the sugar industry, yet it has no public

presence—it does not advertise its services to the public, nor does it even have a website—and

does not appear to market its “Domestic Sugar Monthly Report” or other analyses to anyone but a

select few (i.e., the Producing Defendants or other refiners who share their competitively sensitive

information). Notably, they are not made available to purchasers of Granulated Sugar and others

in the sugar supply chain, thereby giving the Producing Defendants an unfair competitive

advantage over other market participants (i.e., their suppliers and customers).



25
   See Proposed Findings of Fact of the United States [Redacted], U.S. v. United States Sugar Corp., et
al., No. 21-cv-1644-MN (D. Del.) (ECF 219) ¶¶ 140-51.


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        44.     The information Commodity gathers includes the Producing Defendants’ current

pricing, future or forward pricing, pricing strategies, copy size/yields, sold positions, spot prices,

and contract prices. This information is not obtained through anonymous surveys or polling, and

the information Commodity shares with the Producing Defendants is not aggregated. Instead, the

Producing Defendants each regularly share competitively sensitive information regarding pricing

and sold positions with Commodity, who then immediately shares that non-aggregated, non-

anonymized competitively sensitive information with the other Producing Defendants. These

reciprocal exchanges occurred rapidly, oftentimes within hours of receipt, and that information

was used by the Producing Defendants in deciding how much to charge for their Granulated Sugar.

        45.     Moreover, the Producing Defendants themselves understand that the sharing of this

competitively sensitive information is anticompetitive and violates the spirit and purpose of the

antitrust laws. As discussed below, the Producing Defendants’ codes of ethics/business conduct

explicitly acknowledge that agreements to fix prices are unlawful and that information regarding

prices and sales should not be shared, directly or indirectly, with competitors. But that is precisely

what the Producing Defendants have done.26

        46.     Afterwards, pursuant to their unlawful agreement, the Producing Defendants used

this competitively sensitive information that they exchanged with one another through Commodity

when deciding how much to charge their customers for Granulated Sugar during the Class Period.

        47.     Moreover, Defendants understood that by sharing this competitively sensitive

information with one another, they could hinder their customers’ ability to negotiate with them on

price. For example, in a deposition taken on April 18, 2022, United’s Executive VP of Sales, Dirk


26
  The Producing Defendants’ Granulated Sugar prices and sold positions (i.e., the percentage of its crop
that is already booked for the fiscal year) comprises confidential information. It derives independent value
because it is not known by third parties, including each of the Producing Defendants’ respective
competitors or the general public.


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Swart, testified that customers use alternative suppliers’ prices to leverage down prices from

United, but then acknowledged that he “could better avoid these destructive situations” when he

“had better information about what [his] competitor’s actual prices were.”

       48.     The purpose and goal of these information exchanges is clear: to avoid competing

with one another by ensuring they did not undercut each other’s prices, thus maintaining

Granulated Sugar prices that are higher than they otherwise would be in a competitive market. As

the dominant producers in the sugar industry, the Producing Defendants are not competitively

restrained by smaller market participants as the Producing Defendants collectively account for the

majority of Granulated Sugar production and sales in the United States.

       49.     Each of the Producing Defendants—ASR/Domino, Cargill, Michigan Sugar, and

United—participated in these exchanges of competitively sensitive information. For example:

          (a) United: September 21, 2020 – Mr. Wistisen emailed United’s Mr. Speece
              and ASR/Domino’s Mr. Henderson within six minutes of each other, asking
              them about their current prices and if they will be “firm to higher.” Within
              a day, both competitors had reported their prices and sold positions, and Mr.
              Wistisen communicated each respective competitor’s report to the other.

          (b) ASR/Domino: November 16, 2020 – Mr. Wistisen contacted United’s Eric
              Speece and asked, “Where would you put spot and forward beet prices?”;
              approximately 38 minutes later, Mr. Wistisen asked Domino’s Alan
              Henderson, “Where would you put prices and cane coverage?” Both Mr.
              Speece and Mr. Henderson responded that same day with pricing
              information.

          (c) Cargill: March 3, 2020 – ASR/Domino’s Mr. Henderson emails colleague
              Mr. Sproull to report on his attendance at the International Sweetener
              Colloquium; his report discusses Cargill’s prospective “Competitive
              Numbers” for Fiscal Year 2021 and reveals that Cargill’s future pricing will
              be at “$37.50 gross FOB” as well as other Cargill-specific supply
              information obtained at the Colloquium. In another email from August 18,
              2020, Mr. Henderson again emails Mr. Sproull, stating: “Ok, hearing
              reports that Cargill is moving close 80% sold for FY21. We are trying to
              find out if this correlates to an increase in their pricing.” On September 22,
              2020, Mr. Wistisen reports to Mr. Henderson that “Cargill is well sold for
              FY21 but not calendar year 21.” Similarly, internal ASR/Domino emails
              from August 2020 reveal that they were informed that “Cargill is well sold


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                 thru 21, current # is $37 net/$37.75 gross,” and Cargill was included on a
                 report of “Updated pricing” which showed “Cargill @ $37 – 38.” In those
                 same emails, ASR/Domino’s Mr. Whittaker states it is “suspicious” that
                 “Cargill [is] moving up to $37.75.”

           (d) Michigan Sugar: August 18, 2020 – Mr. Wistisen emails ASR/Domino’s
               Mr. Henderson stating: “My goodness, what a difference a month makes.
               Michigan 85+% booked, Western 75-%.” In another email on September
               21, 2020, Mr. Wistisen reached out to United’s Mr. Speece asking:
               “Anything new of interest on the pricing front? Hearing beets well sold,
               except possible NSM (80-85%), and prices firm to higher. Michigan
               $38.5+…. .” On June 17, 2021, Mr. Wistisen emailed ASR/Domino’s Mr.
               Henderson reporting crop size/yield information, including that “Michigan:
               above average crop, 50% excellent development…drop up 1.50 tpa above
               average.” And in yet another email on August 17, 2020, Mr. Wistisen shared
               Michigan’s crop yield information with ASR/Domino’s Mr. Henderson,
               stating “Just getting started on crop updates. Michigan: bumped from 29 tpa
               to 29-30 tpa.”27

        50.      The information exchanges between the Producing Defendants and Commodity

were specifically coordinated such that the Producing Defendants would timely receive each

other’s information. For example:

              (a) November 17, 2020 – The day after the November 16, 2020 emails
                  referenced above (where Mr. Wistisen contacted ASR/Domino and United
                  requesting and later receiving pricing information), Mr. Wistisen emailed
                  United’s Mr. Speece and relayed the specific pricing information that
                  Domino’s Mr. Henderson shared with him the day prior: “ASR saying
                  prices keep climbing: $46 spot all locations….Waiting to hear back from
                  most contacts… .” Mr. Wistisen also emailed Mr. Henderson that same day
                  and forwarded the pricing information shared by Mr. Speece.

              (b) September 21, 2020 – Mr. Wistisen emailed United’s Mr. Speece and
                  ASR’s Mr. Henderson within six minutes of each other, asking them about
                  their current prices and if they will be “firm to higher.” Within a day, both
                  competitors had reported their prices and sold positions, and Mr. Wistisen
                  communicated each respective competitor’s report to the other. He also
                  stated: “Waiting to confirm from Michigan [Sugar].”



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  On other occasions, Mr. Wistisen told both United and ASR/Domino that the information he provided
on Michigan Sugar came directly from them. For example, when discussing pricing with Domino’s Mr.
Henderson, he stated he did not yet have Michigan Sugar’s pricing, but assured him “I hope to talk with
them [Michigan Sugar] on Fri./Mon.”


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       51.    The pricing information exchanged included not only current prices but

prospective prices and sold positions. For example:

          (a) March 3, 2020 – After attending the International Sweetener Colloquium
              the week before in Palm Springs, California, ASR/Domino’s Mr.
              Henderson reported back to his colleagues, among other things, their
              competitors pricing plans for Fiscal Year 2021: “Michigan firm at $38.50
              for 2021. United took prices up to $36.50 FOB.”

          (b) August 18, 2020 – In an email between Mr. Wistisen and ASR/Domino’s
              Mr. Henderson, it is reported that there is “some talk of Cargill moving
              prices up to $37.70 gross fob.”

          (c) September 21, 2020 – Mr. Wistisen reported to ASR/Domino’s Mr.
              Henderson: “Michigan [Sugar] holding forecasts unchanged, sugars nearing
              16%, factories running well, stockpiling on Oct. 19th,” later also adding that
              Michigan Sugar’s pricing was at “$38.5+, selective selling.”

          (d) February 17, 2021 – Mr. Wistisen exchanged emails with ASR/Domino’s
              Mr. Henderson about United’s prospective pricing strategy, and Mr.
              Wistisen responded: “Long conversation with United: won’t set FY22 price
              list until March, but the plan remains to hold steady at $36.50 and $38.50
              based on demand…Selling FY21 firm, good activity, little to no
              competition from NSM or Western.”

          (e) February 15, 2021 – ASR/Domino’s Mr. Henderson emailed Mr. Wistisen
              and reported: “We [Domino] are still at $36.50 and $38.50 with zero
              problems selling at those values. I do not anticipate any changes to our
              prices… .”

          (f) May 18, 2021 – Mr. Wistisen informed ASR/Domino’s Mr. Henderson:
              “Just talked with United: prices unchanged…[b]ut expect big action over
              the next month, 20+% add to bookings, and at that time expect to raise
              prices, and not by just a dollar.”

          (g) July 12, 2021 – Domino’s Mr. Henderson wrote his colleagues Mr.
              Whittaker and Mr. Dahlman again forwarding United’s pricing information,
              stating: “FYI below……United price increase. Rich [Wistisen] is thinking
              $2.00 increase but no official word yet. Let’s see if we can hunt something
              down.”

       52.    The competitively sensitive information exchanged through Commodity was

accurate so that the Producing Defendants could rely upon it. For example:




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             (a) February 17, 2021, Domino’s Mr. Henderson wrote his colleague, Mr.
                 Whittaker, forwarding information about competitor United received by
                 Mr. Wistisen, noting, “United is usually pretty upfront with Rich.”

       53.      It also clear that these communications were expressly and intentionally used for

price signaling purposes. For example:

             (a) September 2019 – Defendant United’s CEO stated that “we tried to push
                 prices higher” by putting “an expiration date” on pending offers, which he
                 further explained “sen[t] a message” to “competitors that we were not
                 interested in allowing the market to slip lower.” Similar documents unveiled
                 by DOJ further reveal a Domino executive stating, “[w]e need to signal to
                 the market that we’re going to maintain price,” one executive stating that
                 the “main downside” to lowering an Imperial bid “would be snatching
                 something from United just as they are starting to show some upside price
                 movement.”

             (b) January 8, 2020 – ASR’s Rob Sproull emailed his colleague Alan
                 Henderson stating: “I think it’s really important we signal to the market that
                 there’s still going to be tightness…We need to signal to the market that
                 we’re going to maintain price, especially for the Oct-Dec quarter.”

             (c) June 18, 2020 – ASR Group’s Alan Henderson emailed his colleague,
                 Adam Whittaker regarding a quote needed for major customer Piedmont
                 Candy Corporation, where he stated he “would love to get aggressive here
                 [on pricing]” but that “[w]e would like to avoid sending a signal out to
                 competitors that we are chasing business and lowering price off the standard
                 $41.00 bulk basis.”

             (d) November 16, 2020 – United’s Mr. Swart emailed his colleague Mr. Speece,
                 stating: “I’d like him [Wistisen] to hear $36.50/$38.00 and probably moving
                 higher based on the strength of the position.”

             (e) January 20, 2021 – United’s Eric Speece emailed his colleague at United,
                 Dirk Swart, that one competitor was selling at too low a price and suggested,
                 “May want to communicate pricing earlier than the colloquium to send a
                 msg. I’ll plan on calling him tomorrow as it is always easier than black and
                 white. Let me know if there are any key messages you would like me to
                 relay on.”

       54.         The Producing Defendants were careful to avoid detection of their unlawful

agreement. For example, in one email United’s Mr. Speece states while discussing an information

exchange: “I will call him rather than put in writing.”



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D.      The Structure and Characteristics of the Sugar Industry Make It Especially
        Susceptible to Collusion and Render the Conspiracy Economically Plausible.

        55.   Several characteristics of the domestic sugar industry cause it to be especially

susceptible to collusion and render the conspiracy economically plausible.

        56.   First, Granulated Sugar is a standardized, homogenous commodity product whose

inputs and outputs are subject to repetitive purchases/sales. As such, it is much easier: (a) for

vendors to come familiar with other bidders and for competitors to share the work on future

contracts; and (b) for competing firms, such as the Producing Defendants, to reach an agreement

on a common price structure because their products are fungible and have common features and

qualities.

        57.   Second, the United States market for Granulated Sugar is highly concentrated. Not

only did the Producing Defendants collectively have a dominant share of the market during the

Class Period, but none of the remaining Granulated Sugar producers had a market share remotely

approaching that of the Producing Defendants. Moreover, the market became even more

concentrated once United acquired Imperial in 2022. United and ASR/Domino have related

ownership interests: United, through owner-member U.S. Sugar, has an ownership interest in

Sugar Cane Growers Cooperative, which is part owner of Domino.

        58.   Third, the domestic sugar industry is almost entirely vertically integrated, with the

Producing Defendants and other sugar producers owning or tightly controlling almost all aspects

of producing sugarcane and sugar beets, processing and refining them into Granulated Sugar, and

marketing Granulated Sugar.

        59.   Fourth, the market for Granulated Sugar in the United States is characterized by

inelastic demand as there are no meaningful substitutes for Granulated Sugar. Thus, the Producing




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Defendants knew they could demand higher prices when Granulated Sugar supplies were low

without the fear of consumers switching to another product.

          60.     Fifth, the Producing Defendants benefited from the United States Department of

Agriculture’s (“USDA”) Sugar Program, which—although it did not set, approve, or otherwise

regulate actual sales prices for Granulated Sugar—limited the number of sources of raw sugar from

which Granulated Sugar could be refined and protected the Producing Defendants from foreign

competition by limiting imports. As a result of this program, the Producing Defendants know they

can charge higher prices for Granulated Sugar as their sold positions increase because there will

be little to no additional competitive product available in the market to constrain them.

          61.     Sixth, there are high barriers to entry which prevent de novo entry into the

Granulated Sugar market as a producer. A new entrant into the market would face costly and

lengthy start-up costs, including large capital investments associated with constructing processing

plants, refiners, transportation infrastructure, skilled labor, creation of sugarcane/sugar beet farms

or contracts with sugarcane/sugar beet farmers, and regulatory approvals. In addition, most

existing competitors, like the Producing Defendants, are large, vertically integrated operations that

not only have long-standing customer and supplier relationships, but they also benefit from

economies of scale and access to loans and production allotments offered by the USDA only to

the larger, vertically integrated producers.

          62.     Seventh, the Producing Defendants each were members, either directly or through

one of their affiliated companies, of various trade associations—e.g., the Sugar Association28 and

the American Sugar Alliance29—which afforded them ample opportunities to collude during the




28
     https://www.sugar.org/about/members/ (last accessed 3/16/24).
29
     https://sugaralliance.org/asa-symposium-2023/asa-program (last accessed 3/16/24).


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Class Period. For example, the American Sugar Alliance holds an annual symposium sponsored

and attended by the Producing Defendants where attendees not only participate in industry

discussions, but also informal activities such as golf outings.

E.     Defendants’ Agreement Successfully Inflated Sugar Prices During the Class Period.

       63.     In the past 20 years, the price of Granulated Sugar has doubled on an indexed basis.

There is no economically rational basis for this rate of price increase.

       64.     During the Class Period in particular, Granulated Sugar prices rose significantly in

a manner that did not reflect prior pricing patterns and despite the fact that supply did not decline.

       65.     The following is a chart of the producer price index for the Sugar Manufacturing

sector during the Class Period and the five years preceding it:




       66.     Commodity prices for sugar have also increased dramatically during the Class

Period. The following is a chart showing commodity sugar prices in USD/lb for the last five years:




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       67.    As these charts demonstrate, Granulated Sugar prices increased at a faster rate

shortly after the alleged conspiracy began in or around January 2019.

                            ANTITRUST INJURY & DAMAGES

       68.    Defendants’ anticompetitive conduct had the following effects, among others:

              (a) competition has been restrained or eliminated with respect to
                  Granulated Sugar;

              (b) the prices paid for Granulated Sugar have been fixed, raised, stabilized,
                  or maintained at artificially inflated levels;

              (c) indirect purchasers of Granulated Sugar have been deprived of free and
                  open competition; and

              (d) indirect purchasers of Granulated Sugar, including Plaintiffs and the
                  Commercial State Law Class defined below, paid artificially inflated
                  prices.




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        69.     The purpose and effect of Defendants’ anticompetitive course of conduct was to

stifle competition and to raise, fix, or maintain the price of Granulated Sugar. As a direct and

foreseeable result, during the Class Period, Plaintiffs and class members paid supracompetitive

prices for Granulated Sugar.

        70.     These overcharges are exactly the type of injuries the antitrust laws were intended

to forestall.

        71.     By reason of the antitrust and consumer protection violations alleged herein,

Plaintiffs and class members have sustained injury to their business or property, and as a result of

suffered damages.

        72.     The Granulated Sugar that Plaintiffs and class members purchased were in

substantially the same form at the time of purchase as when they were initially sold by the

Producing Defendants. As such, Granulated Sugar and the associated overcharges resulting from

Defendants’ anticompetitive conduct follow a physical chain from the Producing Defendants to

Plaintiffs and class members that can be traced.

        73.     Generally accepted economic principals dictate that an overcharge at the top of a

multi-level distribution chain will result in higher prices at every level of distribution below.

Therefore, at least some portion of an anticompetitive overcharge will be passed on by

intermediaries, such as distributors, to end users.

        74.       Here, while direct purchasers of Granulated Sugar were the first to pay supra-

competitive prices, some or all of the overcharges were passed along the distribution chain and

absorbed by downstream purchasers, including Plaintiffs and class members, when they purchased

Granulated Sugar from distributors, wholesalers, or retailers for commercial use.




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       75.         Commonly used and well-accepted economic models can be used to measure

both the extent and the amount of the overcharge passed through the various levels of distribution.

As a result, the economic harm to Plaintiffs and class members can be readily quantified.

                                    CLASS ALLEGATIONS

       76.      Plaintiffs bring this lawsuit under Federal Rules of Civil Procedure 23(a), (b)(1)

and (b)(2) on behalf of themselves and as representatives of a class of Commercial Indirect

Purchasers seeking injunctive relief (the “Nationwide Injunctive Relief Commercial Indirect

Class”) defined as follows:

             All persons or entities who indirectly purchased Granulated Sugar from the
             Producing Defendants or their co-conspirators in the United States during
             the Class Period for use or resale in their business or organization.

       77.      In addition, Plaintiffs bring this lawsuit under Federal Rules of Civil Procedure

23(a) and (b)(3) on behalf of themselves and all others similarly situated seeking damages as well

as equitable relief, on behalf of the following class (the “Commercial State Law Class”):

             All persons or entities who indirectly purchased Granulated Sugar from the
             Producing Defendants or co-conspirators in Alabama, Arizona, California,
             Colorado, Connecticut, the District of Columbia, Florida, Hawaii, Illinois,
             Iowa, Kansas, Maine, Maryland, Michigan, Minnesota, Mississippi,
             Nebraska, Nevada, New Hampshire, New Mexico, New York, North
             Carolina, North Dakota, Oregon, Rhode Island, South Dakota, Tennessee,
             Utah, and/or Vermont during the Class Period for use or resale in their
             business or organization.

       78.      Specifically excluded from both the Nationwide Injunctive Relief Commercial

Indirect Class and the Commercial State Law Class (collectively, the “Commercial Indirect

Purchaser Classes”) are: Defendants; any of their officers, directors, or employees; any entity in

which any Defendant has a controlling interest; any affiliate, legal representative, heir, or assign

of any Defendant; any federal, state, or local governmental entities; any judicial officer presiding




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over this action and the members of his or her immediate family and judicial staff; any juror

assigned to this action; and any co-conspirator identified in this action.

       79.     Plaintiffs reserve the right to modify these definitions and/or to propose subclasses,

as appropriate, based on further investigation and discovery.

       80.     Numerosity. The members of the Commercial Indirect Purchaser Classes are so

numerous that joinder of all members would be impracticable. The exact number of members in

the Commercial Indirect Purchaser Classes is unknown to Plaintiffs at this time, but it is estimated

to number in the millions. The members of the Commercial Indirect Purchaser Classes should be

readily identifiable from existing records.

       81.     Typicality. Plaintiffs’ claims are typical of the claims of the members of the

Commercial Indirect Purchaser Classes because they were all similarly affected by Defendants’

unlawful conduct in that they paid artificially inflated prices for Granulated Sugar purchased

indirectly from one or more of the Producing Defendants or their producer co-conspirators, and

therefore Plaintiffs’ claims arise from the same common course of conduct giving rise to the claims

of the Commercial Indirect Purchaser Classes.

       82.     Adequacy. Plaintiffs will fairly and adequately represent the interests of the

members of the Commercial Indirect Purchaser Classes. Plaintiffs’ interests are coincident with,

and not antagonistic to, those of the other class members. Plaintiffs are represented by attorneys

experienced in the prosecution of class action litigation generally, and in antitrust litigation

specifically, who will vigorously prosecute this action on behalf of the Commercial Indirect

Purchaser Classes.

       83.     Common Questions of Law and Fact Predominate. Questions of law and fact

common to the members of the Commercial Indirect Purchaser Classes predominate over




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questions that may affect only individual class members because Defendants have acted on

grounds generally applicable to all class members. Common issues of fact and law include, but are

not limited to, the following:

               (a) whether Defendants and their co-conspirators engaged in a combination
                   or conspiracy to fix, raise, maintain, or stabilize the price of Granulated
                   Sugar in the United States;

               (b) the duration of the conspiracy alleged herein and the acts performed by
                   Defendants and their co-conspirators in furtherance of the conspiracy;

               (c) whether such combination or conspiracy violated the antitrust, unfair
                   competition, and consumer protection laws of various states;

               (d) whether the conduct of Defendants and their co-conspirators, as alleged
                   herein, caused injury to Plaintiffs and other members of the Commercial
                   Indirect Purchaser Classes;

               (e) whether Defendants caused Plaintiffs and the members of the
                   Commercial Indirect Purchaser Classes to suffer damages in the form of
                   overcharges on Granulated Sugar indirectly purchased from the
                   Producing Defendants or their producing co-conspirators;

               (f) the effect of Defendants’ conspiracy on Granulated Sugar prices sold in
                   the United States during the Class Period;

               (g) the appropriate measure of class-wide damages for the Commercial
                   Indirect Purchaser Classes; and

               (h) the nature of appropriate injunctive relief to restore competition in the
                   U.S. market for Granulated Sugar.

       84.     Superiority. A class action will permit numerous similarly situated persons to

prosecute their common claims in a single forum simultaneously, efficiently, and without

unnecessary duplication of evidence, effort, or expense. A class action will provide injured persons

a method for obtaining redress on claims that could not practicably be pursued individually.

Moreover, the prosecution of separate actions by individual members of the Commercial Indirect

Purchaser Classes would create a risk of inconsistent or varying adjudications, potentially




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establishing incompatible standards of conduct for Defendants. Plaintiffs know of no

manageability or other issue that would preclude maintenance of this case as a class action.

       85.     Injunctive relief. Defendants have acted or refused to act on grounds generally

applicable to the members of the N Commercial Indirect Purchaser Classes, making injunctive and

corresponding declaratory relief appropriate with respect to these classes as a whole pursuant to

Federal Rule of Civil Procedure, Rule 23(b)(2).

               EQUITABLE TOLLING & FRAUDULENT CONCEALMENT

       86.     Any applicable statute of limitations for Plaintiffs’ and the Commercial Indirect

Purchaser Classes’ claims as alleged in this Complaint were tolled by equitable estoppel due to

Defendants’ concealment of their unlawful combination and conspiracy.

       87.     Plaintiffs and the members of the Commercial Indirect Purchaser Classes did not

have actual or constructive notice of the conspiracy alleged herein until, at the earliest, the DOJ’s

Findings of Fact in support of its petition to stop the merger of United and Imperial were made

public. In particular, the full scope of Defendants’ unlawful conduct could not have been

discovered until the appellate exhibits from that matter were made available to the public.

       88.     Throughout the Class Period and continuing until today, Defendants affirmatively

and fraudulently concealed their unlawful conspiracy from Plaintiffs and the members of the

Commercial Indirect Purchaser Classes. That conspiracy was also inherently self-concealing.

       89.     Plaintiffs and the members of the Commercial Indirect Purchaser Classes all

reasonably relied on Defendants’ promises to conduct business ethically and in accordance with

the law, which prevented them from discovering Defendants’ unlawful conduct earlier.




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       90.     ASR Group’s Code of Ethics and Business Conduct from January 22, 202030 states:

“Throughout our long history, ASR Group has always been dedicated to conducting business in a

lawful and ethical manner in all of its operations. … We seek success in all of our business

endeavors. However, we may only do so while upholding the highest standards of ethical conduct

and all of the laws, domestic and foreign, that apply to our work.” In addition, it contains a section

devoted to “Following Antitrust and Competition Laws,” which, among other things, prohibits

ASR Group and its employees, officers, and directors from entering into “[p]rohibited agreements

and activities,” including “[a]greements with competitors to fix or control prices” and, “[t]o ensure

that [they] avoid these illegal agreements, [they] may not engaged in direct or indirect discussions

or other contacts with competitors regarding…[p]rices to be charged by ASR Group or others or

regarding other terms and conditions of sales.”

       91.     Cargill’s Code of Conduct states: “We obey the law. Obeying the law is the

foundation on which are reputation and Guiding Principles are built. As a global organization

privileged to do business all over the world, we have the responsibility to comply with all of the

laws that apply to our business.”31 With respect to antitrust compliance in particular, Cargill states:

“Conducting business in compliance with these [antitrust] laws has contributed to Cargill’s growth

and prosperity throughout the years While these laws are complex and can vary country to country,

they generally prohibit competitors from working together to limit competition.”32 It continues:

“All employees are expected to follow competition laws, as well as Cargills’ own competition

policy. Employees must also be careful when interacting with competitors—for instance, in



30
   https://www.asr-group.com/sites/asr_group_com/files/2023-01/ASR%20Group%20-
%20Code%20of%20Ethics%20and%20Business%20Conduct%20%282020-01-20%29%20English%20-
%20Final%20-%20Website%20%281%29.pdf (las accessed 3/16/24).
31
   https://www.cargill.com/about/code-of-conduct (last accessed 3/16/24).
32
   https://www.cargill.com/doc/1432076403017/guiding-principles-en.pdf (last accessed 3/16/24).


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connection with trade associations and benchmarking. Another way of preserving fair and honest

competition involves the proper collection and use of competitive intelligence. Gathering

competitive information and business data is an appropriate business practice, but it must be done

legally and ethically.” In its chart of “Competition Do’s and Don’ts,” Cargill explicitly instructs

its employees “Don’t: Discuss prices, sales plans or volumes with competitors.”

        92.     Michigan Sugar’s “Sustainability & Corporate Social Responsibility” webpage33

states: “At Michigan Sugar Company, we live by our values – Excellence, Pride, Integrity,

Compassion and Trust. This is the foundation of a business environment that sets respect and

dignity for co-workers, suppliers, customers, and partners as an absolute expectation.” It further

states: “[W]e are committed to creating a responsible business model that serves and builds value

for our grower-owners, employees, customers, suppliers, and other stakeholders now and in the

future.”34

        93.     United’s Code of Business Conduct and Ethics, updated March 16, 2020,35 states:

“Obeying the law, both in letter and in spirit, is the foundation on which our ethical standards are

built. All our employees, officers, directors, agents and other representatives must respect and obey

the laws of the cities, states and countries in which we operate.” It further states: “Our employees,

officers, directors, agents and other representative must maintain the confidentiality of confidential

information entrusted to them by us or our customers, except when disclosure is authorized in

writing by a supervisor or required by laws or regulations. Confidential information includes,

without limitation, any information that derives independent value because it is not known by third



33
   https://www.michigansugar.com/about-us/sustainability-corporate-social-responsibility/ (last accessed
3/16/24).
34
   Id. (emphases added).
35
   https://unitedsugarpr.com/wp-content/uploads/2021/04/United-Sugars_-Code-of-Conduct-and-Ethics-
Updated-March-2020.pdf (last accessed 3/16/24).


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parties, including United Sugar’s competitors or the general public, whether or not expressly

identified as confidential.”

                                      CLAIMS FOR RELIEF

        A.     VIOLATION OF THE SHERMAN ACT

                                        COUNT 1
                               VIOLATION OF 15 U.S.C. § 1
         (On behalf of the Nationwide Injunctive Relief Commercial Indirect Class)


        94.     Plaintiffs re-allege and incorporate by reference all the allegations above as if fully

set forth herein.

        95.     From at least January 1, 2019, and continuing through the present, the exact dates

being unknown to Plaintiffs, Defendants and their co-conspirators entered into a continuing

agreement, understanding, and conspiracy in restraint of trade artificially to fix, raise, and stabilize

price for Granulated Sugar in the United States, including by restraining their respective

production volumes, in violation of Section 1 of the Sherman Act (15 U.S.C. §1).

        96.     In formulating and carrying out the alleged agreement, understanding, and

conspiracy, Defendants and their co-conspirators did those things that they combined and

conspired to do, including but not limited to the acts, practices, and course of conduct set forth

above, and the fixing, raising, and stabilizing of the price of Granulated Sugar.

        97.     The combination and conspiracy alleged herein has had the following effects,

among others:

                (a) Price competition in the sale of Granulated Sugar has been restrained,
                    suppressed, and/or eliminated in the United States;

                (b) Prices for Granulated Sugar sold, directly and indirectly, by Defendants
                    and all of their co-conspirators have been fixed, raised, maintained and
                    stabilized at artificially high, noncompetitive levels throughout the
                    United States; and



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                  (c) Those who purchased Granulated Sugar indirectly from Defendants
                      and their co-conspirators have been deprived of the benefits of free and
                      open competition, resulting in artificially high prices paid for
                      Granulated Sugar.

        98.       Plaintiffs and members of the Nationwide Injunctive Relief Commercial Indirect

Class have been injured and will continue to be injured in their businesses and property by paying

more for Granulated Sugar purchased indirectly from Defendants and their co-conspirators than

they would have paid and will pay in the absence of the combination and conspiracy.

        99.       Plaintiffs and members of the Nationwide Injunctive Relief Commercial Indirect

Class are entitled to an injunction against Defendants, preventing and restraining the violations

alleged herein.

        B.        VIOLATIONS OF STATE ANTITRUST, UNFAIR COMPETITION, AND
                  CONSUMER PROTECTION LAWS

        100.      Plaintiffs re-allege and incorporate by reference all the allegations above as if fully

set forth herein.

        101.      During the Class Period, Defendants and their co-conspirators entered and engaged

in a contract, combination, or conspiracy to fix, stabilize, or maintain prices of Granulated Sugar

sold in various states and to unreasonably restrain trade and commerce and harm consumers in

violation of the various state antitrust and consumer protection laws set forth below.

        102.      In formulating and effectuating this conspiracy, Defendants and their co-

conspirators performed acts in furtherance of the combination and conspiracy, including: agreeing

to fix, maintain, or stabilize Granulated Sugar prices, which injured Plaintiffs and members of the

Commercial State Law Class; exchanging competitively sensitive information between and

among Defendants; and participating in meetings conversations among themselves in the United

States and elsewhere to implement, adhere to, and police the unlawful agreements they reached.




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        103.    Defendants and their co-conspirators engaged in actions described above for the

purpose of carrying out their unlawful agreements to fix, increase, maintain, or stabilize

Granulated Sugar prices at artificially high levels. As a direct and proximate result of Defendants’

conduct, Plaintiffs and members of the Commercial State Law Class were deprived of free and

open competition and paid more to purchase Granulated Sugar than they otherwise would have in

the absence of Defendants’ unlawful conduct. This injury is of the type that the antitrust and

consumer protection laws of the below states were designed to prevent and flows from that which

makes Defendants’ conduct unlawful.

        104.    In addition, Defendants have profited significantly from the conspiracy.

Defendants’ profits derived from their anticompetitive conduct and come at the expense of and to

the detriment of Plaintiffs and members of the Commercial State Law Class.

        105.    Accordingly, Plaintiffs and the members of the Commercial State Law Class in each

of the following jurisdictions seek damages (including statutory damages where applicable), to be

trebled or otherwise increased as permitted by each particular jurisdiction’s law, injunction (where

applicable), and costs of suit, including reasonable attorneys’ fees, to the extent permitted by the

following state laws.

        106.    Defendants’ anticompetitive acts described above were knowing and willful and

constitute violations of the following state antitrust, unfair competition, and consumer protection

statutes.

        107.    In the Counts that follow, a reference to the “Class” is a reference to the Commercial

State Law Class unless otherwise specified.




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                                COUNT 2: ALABAMA
(On behalf of Commercial State Law Class Members That Purchased Granulated Sugar in
                                      Alabama)
       108.    Due to Defendants’ unlawful conduct, (1) competition for Granulated Sugar was

restrained, suppressed, and eliminated within Alabama; (2) Granulated Sugar prices in the State of

Alabama were raised, fixed, maintained, stabilized at artificially high levels; and (3) individuals

have been deprived of free and open competition. Defendants’ agreement was an unlawful

agreement to restrain trade in the State of Alabama in violation of ALA. CODE §6-5-60 et seq.

Defendants’ conspiracy substantially affected Alabama commerce and accordingly, as a direct and

proximate result, Plaintiffs and members of the Class have been injured in their business and

property. Plaintiffs and the members of the Class seek all forms of relief available under ALA.

CODE §6-5-60 et seq.

                             COUNTS 3 & 4: ARIZONA
(On behalf of Commercial State Law Class Members That Purchased Granulated Sugar in
                                      Arizona)

       109.    Defendants’ conspiracies had the following effects: (1) price competition for

Granulated Sugar was restrained, suppressed, and eliminated throughout Arizona; (2) prices of

Granulated Sugar in the State of Arizona were raised, fixed, maintained, stabilized at artificially

high levels; and (3) individuals have been deprived of free and open competition. During the Class

Period, Defendants’ illegal conduct substantially affected Arizona commerce.

       110.    Defendants’ agreement was an unlawful agreement to restrain trade in the State of

Arizona in violation of ARIZ. REV. STAT. §44-1401 et seq. As a direct and proximate result,

Plaintiffs and members of the Class have been injured in their business and property. Accordingly,

Plaintiffs and members of the Class seek all forms of relief available under ARIZ. REV. STAT. §44-

1401 et seq.




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        111.    Defendants have engaged in unfair competition or unfair or deceptive acts or

practices in violation of ARIZ. REV. STAT §44-1521 et seq. Defendants took efforts to conceal their

agreements from Plaintiffs and members of the Class and misled Plaintiffs and members of the

Class into believing that prices for Granulated Sugar were set in a free and fair market. As a direct

and proximate cause of Defendants’ unlawful conduct, Plaintiffs and members of the Class have

been injured in their business and property. Accordingly, Plaintiffs and members of the Class seek

all relief available under that statute.

                           COUNTS 5 & 6: CALIFORNIA
(On behalf of Commercial State Law Class Members That Purchased Granulated Sugar in
                                     California)
        112.    Defendants’ conspiracies had the following effects: (1) price competition for

Granulated Sugar was restrained, suppressed, and eliminated throughout California; (2)

Granulated Sugar prices in the State of California were raised, fixed, maintained, and stabilized at

artificially high levels; and (3) individuals have been deprived of free and open competition.

During the Class Period, Defendants’ illegal conduct substantially affected California commerce

and consumers.

        113.    Defendants have entered into an unlawful agreement in restraint of trade in

violation of CAL. BUS. & PROF. CODE §16700 et seq. During the Class Period, Defendants and

their co-conspirators entered into and engaged in a continuing unlawful trust in restraint of the

trade and commerce. Each Defendant has acted in violation of CAL. BUS. & PROF. CODE §16720

to fix, stabilize, and maintain prices of Granulated Sugar. The violations of CAL. BUS. & PROF.

CODE §16720 consisted, without limitation, of a continuing unlawful trust and concert of action

among Defendants and their co-conspirators, the substantial terms of which were to fix, maintain,

and stabilize prices of Granulated Sugar. For the purpose of forming and effectuating the unlawful

trust, Defendants and their co-conspirators have done those things which they combined and


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conspired to do, including, but not limited to, the acts, practices, and course of conduct set forth

above, and fixing, raising, and stabilizing the price of Granulated Sugar. As a direct and proximate

result of Defendants’ unlawful conduct, Plaintiffs and members of the Class have been injured in

their business and property. As a result of Defendants’ violation of CAL. BUS. & PROF. §16720,

Plaintiffs and members of the Class seek treble damages and their cost of suit, including a

reasonable attorneys’ fee, pursuant to CAL. BUS. & PROF. §16750(a).

        114.    Defendants have engaged in unfair competition or unfair or deceptive acts or

practices in violation of CAL. BUS. & PROF. §17200 et seq. Defendants took efforts to conceal their

agreements from Plaintiffs and members of the Class and misled Plaintiffs and members of the

Class into believing that prices for Granulated Sugar were set in a free and fair market. As a direct

and proximate cause of Defendants’ unlawful conduct, Plaintiffs and members of the Class have

been injured in their business and property. Accordingly, Plaintiffs and members of the Class seek

all relief available under that statute.


                            COUNTS 7 & 8: COLORADO
(On behalf of Commercial State Law Class Members That Purchased Granulated Sugar in
                                     Colorado)
        115.    Defendants’ conspiracies had the following effects: (1) price competition for

Granulated Sugar was restrained, suppressed, and eliminated throughout Colorado; (2) Granulated

Sugar prices in the State of Colorado were raised, fixed, maintained, and stabilized at artificially

high levels; and (3) individuals have been deprived of free and open competition. During the Class

Period, Defendants’ illegal conduct substantially affected Colorado commerce and consumers.

        116.    Defendants have violated COLO. REV. STAT. §6-4-101 et seq. As a direct and

proximate result of Defendants’ unlawful conduct, Plaintiffs and members of the Class have been




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injured in their business and property. Accordingly, Plaintiffs and members of the Class seek all

forms of relief available under violated Colo. Rev. Stat. §6-4-101, et seq.

        117.    Defendants have engaged in unfair competition or unfair or deceptive acts or

practices in violation of COLO. REV. STAT. §6-1-101 et seq. Defendants took efforts to conceal

their agreements from Plaintiffs and members of the Class and misled Plaintiffs and members of

the Class into believing that prices for Granulated Sugar were set in a free and fair market. As a

direct and proximate cause of Defendants’ unlawful conduct, Plaintiffs and members of the Class

have been injured in their business and property. Accordingly, Plaintiffs and members of the Class

seek all relief available under that statute.

                             COUNT 9: CONNECTICUT
(On behalf of Commercial State Law Class Members That Purchased Granulated Sugar in
                                    Connecticut)

        118.    Defendants have entered into an unlawful agreement in restraint of trade in violation

of CONN. GEN. STAT. §35-24 et seq. Defendants’ combinations or conspiracies had the following

effects: (1) price competition for Granulated Sugar was restrained, suppressed, and eliminated

throughout Connecticut, and (2) Granulated Sugar prices in the State of Connecticut were fixed,

controlled, and maintained at artificially high levels; and (3) individuals have been deprived of free

and open competition. During the Class Period, Defendants’ illegal conduct substantially affected

Connecticut commerce. By reason of the foregoing, Defendants have entered into agreements in

restraint of trade in violation of CONN. GEN. STAT. §35-24 et seq. As a direct and proximate result

of Defendants’ unlawful conduct, Plaintiffs and members of the Class have been injured in their

business and property. Accordingly, Plaintiffs and members of the Class seek all forms of relief

available under CONN. GEN. STAT. §35-24 et seq.




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                  COUNTS 10 & 11: DISTRICT OF COLUMBIA
(On behalf of Commercial State Law Class Members That Purchased Granulated Sugar in
                                 District of Columbia)
      119. Defendants’ combinations or conspiracies had the following effects: (1) price

competition for Granulated Sugar was restrained, suppressed, and eliminate throughout the District

of Columbia; (2) Granulated Sugar prices were raised, fixed, maintained, and stabilized at

artificially high levels throughout the District of Columbia; and (3) Plaintiffs and members of the

Class, including those who resided in the District of Columbia and purchased Granulated Sugar in

the District of Columbia, paid supracompetitive, artificially inflated prices for Granulated Sugar.

During the Class Period, Defendants’ illegal conduct substantially affected commerce in the

District of Columbia.

        120.    Defendants have entered into agreements in restraint of trade in violation of D.C.

CODE §28-4501 et seq. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs

and members of the Class have been injured in their business and property. Accordingly, Plaintiffs

and members of the Class seek all forms of relief available under D.C. CODE §28-4501 et seq.

        121.    Defendants have engaged in unfair competition or unfair or deceptive acts or

practices in violation of D.C. CODE § 28-3901 et seq. Defendants took efforts to conceal their

agreements from Plaintiffs and members of the Class and misled Plaintiffs and members of the

Class into believing that prices for Granulated Sugar were set in a free and fair market. As a direct

and proximate cause of Defendants’ unlawful conduct, Plaintiffs and members of the Class have

been injured in their business and property. Accordingly, Plaintiffs and members of the Class seek

all relief available under that statute.




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                            COUNTS 12 & 13: FLORIDA
(On behalf of Commercial State Law Class Members That Purchased Granulated Sugar in
                                      Florida)

        122.    Through their actions and actions of co-conspirators, Granulated Sugar prices in the

State of Florida were raised, fixed, maintained, and stabilized at artificially high level, thereby

injuring Plaintiffs and the Class. Throughout the Class Period, competition in the Granulated Sugar

market was restrained, suppressed, and eliminated throughout Florida. Plaintiffs and members of

the Class, including those who purchased Granulated Sugar in the State of Florida, paid

supracompetitive, artificially inflated prices for Granulated Sugar. During the Class Period,

Defendants’ illegal conduct substantially affected commerce in Florida.

        123.    Defendants have violated the FLA. STAT. §542.15 et seq., through their

anticompetitive actions. As a direct and proximate result of Defendants’ unlawful conduct,

Plaintiffs and members of the Class have been injured in their business and property. Accordingly,

Plaintiffs and members of the Class seek all forms of relief available under FLA. STAT. §542.15 et

seq.

        124.    Defendants have engaged in unfair competition or unfair or deceptive acts or

practices in violation of FLA. STAT. §501.201 et seq. Defendants took efforts to conceal their

agreements from Plaintiffs and members of the Class and misled Plaintiffs and members of the

Class into believing that prices for Granulated Sugar were set in a free and fair market. As a direct

and proximate cause of Defendants’ unlawful conduct, Plaintiffs and members of the Class have

been injured in their business and property. Accordingly, Plaintiffs and members of the Class seek

all relief available under that statute.




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                                COUNT 14: HAWAII
(On behalf of Commercial State Law Class Members That Purchased Granulated Sugar in
                                      Hawaii)
       125.    Defendants have violated HAW. REV. STAT. §480-1 et seq., through their

actions. See HAW. REV. STAT. §§480-4, 480-13. Through Defendants’ actions and the actions

of their co-conspirators, Granulated Sugar prices in the State of Hawaii were raised, fixed,

maintained, and stabilized at artificially high levels, thereby injuring Plaintiffs and the Class.

Throughout the Class Period, price competition for Granulated Sugar was restrained, suppressed,

and eliminated throughout the State of Hawaii. Plaintiffs and members of the Class, including those

who resided in the State of Hawaii and purchased Granulated Sugar in Hawaii, paid

supracompetitive, artificially inflated prices for their Granulated Sugar. During the Class

Period, Defendants’ illegal conduct substantially affected commerce in Hawaii. As a direct

and proximate result of Defendants’ unlawful conduct, Plaintiffs and members of the Class have

been injured in their business and property. Accordingly, Plaintiffs and members of the Class seek

all forms of relief available under HAW. REV. STAT. ANN. §480-1 et seq.

                            COUNTS 15 & 16: ILLINOIS
(On behalf of Commercial State Law Class Members That Purchased Granulated Sugar in
                                       Illinois)

       126.    Defendants’ combinations or conspiracies had the following effects: (1) price

competition in the Granulated Sugar market was restrained, suppressed, and eliminated throughout

the State of Illinois, and (2) Granulated Sugar prices were raised, fixed, maintained, and stabilized

at artificially high levels throughout the State of Illinois. During the Class Period, Defendants’

illegal conduct substantially affected Illinois commerce.

       127.    Defendants have entered into agreements in restraint of trade in violation of 740

ILL. COMP. STAT. 10/1 et seq. As a direct and proximate result of Defendants’ unlawful conduct,

Plaintiffs and members of the Class have been injured in their business and property. Accordingly,


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Plaintiffs and members of the Class seek all forms of relief available under 740 ILL. COMP. STAT.

10/1 et seq.

       128.    Defendants have engaged in unfair competition or unfair or deceptive acts or

practices in violation of 815 ILL. COMP. STAT. 505/1 et seq, and 720 ILL. COMP. STAT. 295/1a.

Defendants took efforts to conceal their agreements from Plaintiffs and members of the Class and

misled Plaintiffs and members of the Class into believing that prices for Granulated Sugar were

set in a free and fair market. As a direct and proximate cause of Defendants’ unlawful conduct,

Plaintiffs and members of the Class have been injured in their business and property. Accordingly,

Plaintiffs and members of the Class seek all relief available under that statute.

                                 COUNT 17: IOWA
(On behalf of Commercial State Law Class Members That Purchased Granulated Sugar in
                                        Iowa)

       129.    Defendants have entered into an unlawful agreement in restraint of trade in violation

of IOWA CODE §553.1 et seq. Defendants’ combinations or conspiracies had the following effects:

(1) price competition for Granulated Sugar was restrained, suppressed, and eliminated throughout

the State of Iowa, and (2) Granulated Sugar prices were raised, fixed, maintained and stabilized at

artificially high levels throughout the State of Iowa. During the Class Period, Defendants’ illegal

conduct substantially affected Iowa commerce. By reason of the foregoing, Defendants have

entered into agreements in restraint of trade in violation of IOWA CODE §553.1 et seq. As a direct

and proximate result of Defendants’ unlawful conduct, Plaintiffs and members of the Class have

been injured in their business and property. Accordingly, Plaintiffs and members of the Class seek

all forms of relief available under IOWA CODE §553.1 et seq.




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                                COUNT 18: KANSAS
(On behalf of Commercial State Law Class Members That Purchased Granulated Sugar in
                                      Kansas)

       130.    Defendants have entered into an unlawful agreement in restraint of trade in violation

of KAN. STAT. §50-101 et seq. Defendants’ combinations or conspiracies had the following effects:

(1) price competition for Granulated Sugar was restrained, suppressed, and eliminated throughout

the State of Kansas; (2) Granulated Sugar prices in the State of Kansas were raised, fixed,

maintained, and stabilized at artificially high levels; and (3) individuals have been deprived of free

and open competition. During the Class Period, Defendants’ illegal conduct substantially affected

Kansas commerce. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs and

members of the Class have been injured in their business and property. Accordingly, Plaintiffs and

members of the Class seek all forms of relief available under KAN. STAT. §50-101 et seq.

                                 COUNT 19: MAINE
(On behalf of Commercial State Law Class Members That Purchased Granulated Sugar in
                                       Maine)

       131.    Defendants have entered into an unlawful agreement in restraint of trade in violation

of ME. STAT. TIT. 10, §1101. Defendants’ combinations or conspiracies had the following effects:

(1) price competition for Granulated Sugar was restrained, suppressed, and eliminated throughout

the State of Maine; and (2) Granulated Sugar prices in the State of Maine were raised, fixed,

maintained, and stabilized at artificially high levels. During the Class Period, Defendants’ illegal

conduct substantially affected Maine commerce. As a direct and proximate result of Defendants’

unlawful conduct, Plaintiffs and members of the Class have been injured in their business and

property. Accordingly, Plaintiffs and members of the Class seek all relief available under ME.

STAT. TIT. 10, §1104.




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                           COUNTS 20 & 21: MARYLAND
(On behalf of Commercial State Law Class Members That Purchased Granulated Sugar in
                                     Maryland)

       132.    Defendants’ combinations or conspiracies detrimentally affected the price

competition in the State of Maryland for Granulated Sugar by restraining, suppressing, and

eliminating competition. Further, Defendants’ unlawful conduct raised, fixed, maintained, and

stabilized Granulated Sugar prices in the State of Maryland at artificially high levels. As a direct

and proximate result of Defendants’ unlawful conduct, Plaintiffs and members of the Class have

been injured in their business and property. During the Class Period, Defendants’ illegal conduct

substantially affected Maryland commerce.

                           COUNTS 22 & 23: MICHIGAN
(On behalf of Commercial State Law Class Members That Purchased Granulated Sugar in
                                     Michigan)

       133.    Defendants’ combinations or conspiracies had the following effects: (1) price

competition for Granulated Sugar was restrained, suppressed, and eliminated throughout the State

of Michigan, and (2) Granulated Sugar prices were raised, fixed, maintained, and stabilized at

artificially high levels throughout the State of Michigan. During the Class Period, Defendants’

illegal conduct substantially affected Michigan commerce.

       134.    Defendants have entered into an unlawful agreement in restraint of trade in violation

of MICH.COMP. LAWS §445.771 et seq. As a direct and proximate result of Defendants’ unlawful

conduct, Plaintiffs and members of the Class have been injured in their business and property.

Accordingly, Plaintiffs and members of the Class seek all relief available under MICH. COMP. LAWS

§445.771 et seq.

       135.    Defendants have engaged in unfair competition or unfair or deceptive acts or

practices in violation of MICH. COMP. LAWS §445.903 et seq. Defendants took efforts to conceal

their agreements from Plaintiffs and members of the Class and misled Plaintiffs and members of


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the Class into believing that prices for Granulated Sugar were set in a free and fair market. As a

direct and proximate cause of Defendants’ unlawful conduct, Plaintiffs and members of the Class

have been injured in their business and property. Accordingly, Plaintiffs and members of the Class

seek all relief available under that statute.

                          COUNTS 24 & 25: MINNESOTA
(On behalf of Commercial State Law Class Members That Purchased Granulated Sugar in
                                     Minnesota)

          136.   Through their actions and actions of co-conspirators, Granulated Sugar prices in the

State of Minnesota were raised, fixed, maintained, and stabilized at an artificially high level,

thereby injuring Plaintiffs and the Class. Throughout the Class Period, price competition in the

market for Granulated Sugar was restrained, suppressed, and eliminated throughout the State of

Minnesota. Plaintiffs and members of the Class, including those who resided in the State of

Minnesota and purchased Granulated Sugar there, paid supracompetitive, artificially inflated

prices for Granulated Sugar. During the Class Period, Defendants’ illegal conduct substantially

affected commerce in the State of Minnesota.

          137.   Defendants have violated the MINN. STAT. §325D.49 et seq., through their

anticompetitive actions. As a direct and proximate result of Defendants’ unlawful conduct,

Plaintiffs and members of the Class have been injured in their business and property. Accordingly,

Plaintiffs and members of the Class seek all forms of relief available under MINN. STAT. §325D.49

et seq.

          138.   Defendants have engaged in unfair competition or unfair or deceptive acts or

practices in violation MINN. STAT. §325d.43-48 et seq. Defendants took efforts to conceal their

agreements from Plaintiffs and members of the Class and misled Plaintiffs and members of the

Class into believing that prices for Granulated Sugar were set in a free and fair market. As a direct




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and proximate cause of Defendants’ unlawful conduct, Plaintiffs and members of the Class have

been injured in their business and property. Accordingly, Plaintiffs and members of the Class seek

all relief available under that statute.

                              COUNT 26: MISSISSIPPI
(On behalf of Commercial State Law Class Members That Purchased Granulated Sugar in
                                    Mississippi)

        139.    Defendants have entered into an unlawful agreement in restraint of trade in violation

of MISS. CODE §75-21-1 et seq. See MISS. CODE §75-57-63. Defendants’ combinations or

conspiracies had the following effects: (1) price competition for Granulated Sugar was restrained,

suppressed, and eliminated throughout the State of Mississippi, and (2) Granulated Sugar prices

were raised, fixed, maintained, and stabilized at artificially high levels throughout the State of

Mississippi. During the Class Period, Defendants’ illegal conduct substantially affected the State

of Mississippi commerce. As a direct and proximate result of Defendants’ unlawful conduct,

Plaintiffs and members of the Class have been injured in their business and property. Accordingly,

Plaintiffs and members of the Class seek all relief available under MISS. CODE §75-21-1 et seq.,

and MISS. CODE §75-57-63.

                           COUNTS 27 & 28: NEBRASKA
(On behalf of Commercial State Law Class Members That Purchased Granulated Sugar in
                                     Nebraska)

        140.    Defendants’ combinations or conspiracies had the following effects: (1) price

competition for Granulated Sugar was restrained, suppressed, and eliminated throughout the State

of Nebraska, and (2) Granulated Sugar prices were raised, fixed, maintained, and stabilized

at artificially high levels throughout the State of Nebraska. During the Class Period, Defendants’

illegal conduct substantially affected the State of Nebraska commerce.

        141.    Defendants restrained trade and commerce in the State of Nebraska by entering

into an unlawful agreement in violation of NEB. REV. STAT. §59-801 et seq. As a direct and


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proximate result of Defendants’ unlawful conduct, Plaintiffs and members of the Class have been

injured in their business and property. Accordingly, Plaintiffs and members of the Class seek all

relief available under NEB. REV. STAT. §59-801 et seq.

        142.    Defendants have engaged in unfair competition or unfair or deceptive acts or

practices in violation of NEB. REV. STAT. §59-1601 et seq. Defendants took efforts to conceal their

agreements from Plaintiffs and members of the Class and misled Plaintiffs and members of the

Class into believing that prices for Granulated Sugar were set in a free and fair market. As a direct

and proximate cause of Defendants’ unlawful conduct, Plaintiffs and members of the Class have

been injured in their business and property. Accordingly, Plaintiffs and members of the Class seek

all relief available under that statute.

                             COUNTS 29 & 30: NEVADA
(On behalf of Commercial State Law Class Members That Purchased Granulated Sugar in
                                      Nevada)

        143.    Defendants’ conspiracies had the following effects: (1) price competition for

Granulated Sugar was restrained, suppressed, and eliminated throughout the State of Nevada; (2)

Granulated Sugar prices in the State of Nevada were raised, fixed, maintained, stabilized at

artificially high levels; and (3) individuals have been deprived of free and open competition.

        144.    Defendants violated the NEV. REV. STAT. §598A.210 et seq., by entering into

unlawful agreement in restraint of trade in the State of Nevada. As a direct and proximate result of

Defendants’ unlawful conduct, Plaintiffs and members of the Class have been injured in their

business and property. As a result of Defendants’ violation of NEV. REV. STAT. §598A.210 et seq.

Plaintiffs and members of the Class seek treble damages and their cost of suit, including a

reasonable attorneys’ fee, pursuant to NEV. REV. STAT. §598A.210.

        145.    Defendants have engaged in unfair competition or unfair or deceptive acts or

practices in violation of NEV. REV. STAT. §598.0903 et seq. Defendants took efforts to conceal


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their agreements from Plaintiffs and members of the Class and misled Plaintiffs and members of

the Class into believing that prices for Granulated Sugar were set in a free and fair market. As a

direct and proximate cause of Defendants’ unlawful conduct, Plaintiffs and members of the Class

have been injured in their business and property. Accordingly, Plaintiffs and members of the Class

seek all relief available under that statute.

                       COUNTS 31 & 32: NEW HAMPSHIRE
(On behalf of Commercial State Law Class Members That Purchased Granulated Sugar in
                                  New Hampshire)

        146.    Defendants’ combinations or conspiracies detrimentally affected the price

competition in the State of New Hampshire Granulated Sugar market by restraining,

suppressing, and eliminating competition. Further, Defendants’ unlawful conduct raised, fixed,

maintained, and stabilized Granulated Sugar prices in the State of New Hampshire at artificially high

levels. During the Class Period, Defendants’ illegal conduct substantially affected the State of

New Hampshire commerce.

        147.    Defendants have entered into an unlawful agreement in restraint of trade in

violation of N.H. REV. STAT. §356:1 et seq. As a direct and proximate result of Defendants’

unlawful conduct, Plaintiffs and members of the Class have been injured in their business and

property. Accordingly, Plaintiffs and members of the Class seek all relief available under N.H.

REV. STAT. §356:1 et seq.

        148.    Defendants have engaged in unfair competition or unfair or deceptive acts or

practices in violation of N.H. REV. STAT. §358-A:1 et seq. Defendants took efforts to conceal

their agreements from Plaintiffs and members of the Class and misled Plaintiffs and members of

the Class into believing that prices for Granulated Sugar were set in a free and fair market. As a

direct and proximate cause of Defendants’ unlawful conduct, Plaintiffs and members of the Class




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have been injured in their business and property. Accordingly, Plaintiffs and members of the Class

seek all relief available under that statute.

                          COUNTS 33 & 34: NEW MEXICO
(On behalf of Commercial State Law Class Members That Purchased Granulated Sugar in
                                    New Mexico)

        149.    Defendants’ combinations or conspiracies detrimentally affected the price

competition in the State of New Mexico for Granulated Sugar by restraining, suppressing, and

eliminating competition. Further, Defendants’ unlawful conduct raised, fixed, maintained and

stabilized Granulated Sugar prices in the State of New Mexico at artificially high levels. During

the Class Period, Defendants’ illegal conduct substantially affected commerce in the State of New

Mexico.

        150.    Defendants violated the N.M. STAT. §57-1-1 et seq., by entering into unlawful

agreement in restraint of trade in the State of New Mexico. As a direct and proximate result of

Defendants’ unlawful conduct, Plaintiffs and members of the Class have been injured in their

business and property. Accordingly, Plaintiffs and Members of the Class seek all relief available

under N.M. STAT. §57-1-1 et seq.

        151.    Defendants have engaged in unfair competition or unfair or deceptive acts or

practices in violation of N.M. STAT. §57-12-1 et seq. Defendants took efforts to conceal their

agreements from Plaintiffs and members of the Class and misled Plaintiffs and members of the

Class into believing that prices for Granulated Sugar were set in a free and fair market. As a direct

and proximate cause of Defendants’ unlawful conduct, Plaintiffs and members of the Class have

been injured in their business and property. Accordingly, Plaintiffs and members of the Class seek

all relief available under that statute.




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                               COUNT 35: NEW YORK
(On behalf of Commercial State Law Class Members That Purchased Granulated Sugar in
                                     New York)

       152.     Defendants have entered into an unlawful agreement in restraint of trade in

violation of N.Y. GEN. BUS. LAW §340 et seq. Defendants’ combinations or conspiracies had the

following effects: (1) price competition in the market for Granulated Sugar was restrained,

suppressed, and eliminated throughout the State of New York, and (2) Granulated Sugar prices

were raised, fixed, maintained, and stabilized at artificially high levels throughout the State of New

York. During the Class Period, Defendants’ illegal conduct substantially affected the State of New

York commerce. The conduct set forth above is a per se violation of the Donnelly Act, N.Y. GEN.

BUS. LAW §340 et seq. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs

and members of the Class have been injured in their business and property. Accordingly, Plaintiffs

and members of the Class seek all relief available under N.Y. GEN. BUS. LAW §340 et seq.

                          COUNT 36: NORTH CAROLINA
(On behalf of Commercial State Law Class Members That Purchased Granulated Sugar in
                                   North Carolina)

       153.     Defendants have entered into an unlawful agreement in restraint of trade in

violation of N.C. GEN. STAT. §75-1 et seq. Defendants’ combinations or conspiracies had the

following effects: (1) price competition in the market for Granulated Sugar was restrained,

suppressed, and eliminated throughout the State of North Carolina, and (2) Granulated Sugar prices

were raised, fixed, maintained, and stabilized at artificially high levels throughout the State of

North Carolina. During the Class Period, Defendants’ illegal conduct substantially affected the

State of North Carolina commerce. As a direct and proximate result of Defendants’ unlawful

conduct, Plaintiffs and members of the Class have been injured in their business and property.

Accordingly, Plaintiffs and members of the Class seek all relief available under N.C. GEN. STAT.

§75-1 et seq.


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                           COUNT 37: NORTH DAKOTA
(On behalf of Commercial State Law Class Members That Purchased Granulated Sugar in
                                   North Dakota)

       154.    Defendants’ actions have violated the N.D. CENT. CODE §51-08.1-01 et seq.

through their anticompetitive actions. Through their actions and actions of co-conspirators,

Granulated Sugar prices in the State of North Dakota were raised, fixed, maintained, and stabilized

at artificially high level, thereby injuring Plaintiffs and the Class. Throughout the Class Period,

price competition in the market for Granulated Sugar was restrained, suppressed, and eliminated

throughout the State of North Dakota. Plaintiffs and members of the Class, including those who

resided in the State of North Dakota and purchased Granulated Sugar there, paid supracompetitive,

artificially inflated prices. During the Class Period, Defendants’ illegal conduct substantially

affected commerce in the State of North Dakota. As a direct and proximate result of Defendants’

unlawful conduct, Plaintiffs and members of the Class have been injured in their business and

property. Accordingly, Plaintiffs and members of the Class seek all forms of relief available under

N.D. CENT. CODE §51-08.1-01 et seq.

                            COUNTS 38 & 39: OREGON
(On behalf of Commercial State Law Class Members That Purchased Granulated Sugar in
                                      Oregon)

       155.    Defendants’ combinations or conspiracies had the following effects: (1) price

competition for Granulated Sugar was restrained, suppressed, and eliminated throughout the State

of Oregon; (2) Granulated Sugar prices in the State of Oregon were raised, fixed, maintained, and

stabilized at artificially high levels; and (3) individuals have been deprived of free and open

competition. During the Class Period, Defendants’ illegal conduct substantially affected the State

of Oregon commerce.

       156.    Defendants have entered into an unlawful agreement in restraint of trade in

violation of OR. REV. STAT. §646.725 et seq. As a direct and proximate result of Defendants’


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unlawful conduct, Plaintiffs and members of the Class have been injured in their business and

property. Accordingly, Plaintiffs and members of the Class seek all forms of relief available under

OR. REV. STAT. §646.725 et seq.

        157.    Defendants have engaged in unfair competition or unfair or deceptive acts or

practices in violation of OR. REV. STAT. §646.605 et seq. Defendants took efforts to conceal their

agreements from Plaintiffs and members of the Class and misled Plaintiffs and members of the

Class into believing that prices for Granulated Sugar were set in a free and fair market. As a direct

and proximate cause of Defendants’ unlawful conduct, Plaintiffs and members of the Class have

been injured in their business and property. Accordingly, Plaintiffs and members of the Class seek

all relief available under that statute.

                         COUNT 40 & 41: RHODE ISLAND
(On behalf of Commercial State Law Class Members That Purchased Granulated Sugar in
                                   Rhode Island)

        158.    Defendants’     combinations   or     conspiracies   detrimentally   affected   price

competition in the Granulated Sugar market in the State of Rhode Island by restraining,

suppressing, and eliminating competition. Further, Defendants’ unlawful conduct raised, fixed,

maintained, and stabilized Granulated Sugar prices in the State of Rhode Island at artificially high

levels. During the Class Period, Defendants’ illegal conduct substantially affected commerce in

the State of Rhode Island.

        159.    Defendants have entered into an unlawful agreement in restraint of trade in

violation of R.I. GEN. LAWS §6-36-7 et seq. As a direct and proximate result of Defendants’

unlawful conduct, Plaintiffs and members of the Class have been injured in their business and

property. Accordingly, Plaintiffs and Members of the Class seek all relief available under R R.I.

GEN. LAWS §6-36-7 et seq.




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        160.    Defendants have engaged in unfair competition or unfair or deceptive acts or

practices in violation of R.I. GEN. LAWS §6-13.1-1. Defendants took efforts to conceal their

agreements from Plaintiffs and members of the Class and misled Plaintiffs and members of the

Class into believing that prices for Granulated Sugar were set in a free and fair market. As a direct

and proximate cause of Defendants’ unlawful conduct, Plaintiffs and members of the Class have

been injured in their business and property. Accordingly, Plaintiffs and members of the Class seek

all relief available under that statute.

                        COUNTS 42 & 43: SOUTH DAKOTA
(On behalf of Commercial State Law Class Members That Purchased Granulated Sugar in
                                   South Dakota)

        161.    Through their actions and actions of co-conspirators, Granulated Sugar prices in

the State of South Dakota were raised, fixed, maintained, and stabilized at artificially high level,

thereby injuring Plaintiffs and the Class. Throughout the Class Period, price competition in the

market for Granulated Sugar was restrained, suppressed, and eliminated throughout the State of

South Dakota. During the Class Period, Defendants’ illegal conduct substantially affected

commerce in the State of South Dakota. Plaintiffs and members of the Class, including those who

resided in the State of South Dakota and purchased Granulated Sugar there, paid supracompetitive,

artificially inflated prices for their Granulated Sugar.

        162.    Defendants have violated S.D. CODIFIED LAWS §37-1-3.1 et seq., through their

anticompetitive actions. As a direct and proximate result of Defendants’ unlawful conduct,

Plaintiffs and members of the Class have been injured in their business and property. Accordingly,

Plaintiffs and members of the Class seek all forms of relief available under S.D. CODIFIED LAWS

§37-1-3.1 et seq.

        163.    Defendants have engaged in unfair competition or unfair or deceptive acts or

practices in violation of S.D. CODIFIED LAWS §37-24-1 et seq. Defendants took efforts to conceal


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their agreements from Plaintiffs and members of the Class and misled Plaintiffs and members of

the Class into believing that prices for Granulated Sugar were set in a free and fair market. As a

direct and proximate cause of Defendants’ unlawful conduct, Plaintiffs and members of the Class

have been injured in their business and property. Accordingly, Plaintiffs and members of the Class

seek all relief available under that statute.

                              COUNT 44: TENNESSEE
(On behalf of Commercial State Law Class Members That Purchased Granulated Sugar in
                                     Tennessee)

        164.    Defendants have entered into an unlawful agreement in restraint of trade in

violation of TENN. CODE §47-25-101 et seq. Defendants’ combinations or conspiracies had the

following effects: (1) price competition for the sale of Granulated Sugar, a tangible good, was

restrained, suppressed, and eliminated throughout the State of Tennessee; (2) prices for Granulated

Sugar, a tangible good, in the State of Tennessee were raised, fixed, maintained, and stabilized at

artificially high levels; and (3) individuals have been deprived of free and open competition.

During the Class Period, Defendants’ illegal conduct substantially affected commerce in the State

of Tennessee. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs and

members of the Class have been injured in their business and property. Accordingly, Plaintiffs and

members of the Class seek all forms of relief available under TENN. CODE §47-25-101 et seq.

                                 COUNT 45: UTAH
(On behalf of Commercial State Law Class Members That Purchased Granulated Sugar in
                                        Utah)

        165.    Defendants violated the UTAH CODE §76-10-3101 et seq. by entering into unlawful

agreement in restraint of trade in the State of Utah. Specifically, Defendants’ combinations or

conspiracies detrimentally affected price competition in the Granulated Sugar market in the State

of Utah by restraining, suppressing, and eliminating competition. Further, Defendants’ unlawful

conduct raised, fixed, maintained, and stabilized Granulated Sugar prices in Utah at artificially high


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levels. During the Class Period, Defendants’ illegal conduct substantially affected commerce in the

State of Utah. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs and

members of the Class have been injured in their business and property. Accordingly, Plaintiffs and

Members of the Class seek all relief available under UTAH CODE §76-10-3101 et seq.

                               COUNT 46: VERMONT
(On behalf of Commercial State Law Class Members That Purchased Granulated Sugar in
                                      Vermont)

       166.    Defendants combinations or conspiracies had the following effects: (1) price

competition for Granulated Sugar was restrained, suppressed, and eliminated throughout the State

of Vermont; (2) Granulated Sugar prices in the State of Vermont were raised, fixed, maintained,

and stabilized at artificially high levels; and (3) individuals have been deprived of free and open

competition. Defendants have entered into an unlawful agreement in restraint of trade in violation

of VT. STAT. ANN. TIT. 9, §2453 et seq. During the Class Period, Defendants’ illegal conduct

substantially affected commerce in the State of Vermont. As a direct and proximate result of

Defendants’ unlawful conduct, Plaintiffs and members of the Class have been injured in their

business and property. Accordingly, Plaintiffs and members of the Class seek all forms of relief

available under VT. STAT. ANN. TIT. 9, §2465 et seq.

                                    PRAYER FOR RELIEF
       WHEREFORE, Plaintiffs, individually and on behalf of the Commercial Indirect Purchaser
Classes defined herein, respectfully request that this Court:
       A.      Certify this action as a class action pursuant to Rule 23 of the Federal Rules of Civil

Procedure and appoint Plaintiffs and their attorneys to represent the Commercial Indirect

Purchaser Classes.

       B.      Adjudge and decree that the acts of Defendants are illegal and unlawful, including

the agreement, contract, combination, or conspiracy, and acts done in furtherance thereof by



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Defendants and their co-conspirators be adjudged to have been a per se violation (or alternatively

illegal as a quick look or full-fledged rule of reason violation) of various state antitrust and

competition laws as alleged above.

        C.      Permanently enjoin and restrain Defendants, their affiliates, successors, transferees,

assignees, and other officers, directors, agents, and employees thereof, and all other persons acting

or claiming to act on their behalf, from in any manner continuing, maintaining, or renewing the

conduct, contract, conspiracy, or combination alleged herein, or from entering into any other

contract, conspiracy, or combination having a similar purpose or effect, and from adopting or

following any practice, plan, program, or device having a similar purpose or effect.

        D.      Enter judgment against Defendants, jointly and severally, and in favor of Plaintiffs

and members of the Commercial State Law Class for treble the amount of damages sustained by

Plaintiffs and the Commercial State Law Class as allowed by law, together with costs of the action,

including reasonable attorneys’ fees, pre- and post-judgment interest at the highest legal rate from

and after the date of service of this Complaint to the extent provided by law.

        E.      Grant such other and further relief as the Court deems just and appropriate under

the circumstances.

                                  DEMAND FOR JURY TRIAL
        167.    Plaintiffs hereby demand a trial by jury, pursuant to Federal Rule of Civil Procedure

38(b), for all claims and issues so triable.

Dated: March 18, 2024                                  Respectfully submitted,

                                        By: /s/ Matthew W. Ruan
                                            Matthew W. Ruan (MN #033909X)
                                            Douglas A. Millen
                                            Michael E. Moskovitz
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